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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:

  CARLOS BRITO,

              Plaintiff,
  v.

  KISS VENTURES, INC. and 1644
  HOLDING CORP. D/B/A BUDGET ACE
  HARDWARE,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues KISS VENTURES, INC. and 1644

  HOLDING CORP. D/B/A BUDGET ACE HARDWARE, (hereinafter “Defendants”), and as

  grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a
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  residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.      At all times material, Defendant, KISS VENTURES, INC., owned and operated a

  commercial building located at 1644 NE 2nd Ave Miami, Florida 33132 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

         6.      At all times material, Defendant, KISS VENTURES, INC., was and is a Florida

  Profit Corporation, organized under the laws of the State of Florida, with its principal place of

  business in Hollywood, Florida.

         7.      At all times material, Defendant, 1644 HOLDING CORP., owned and operated a

  commercial building located at 1644 NE 2nd Ave Miami, Florida 33132 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

         8.      At all times material, Defendant, 1644 HOLDING CORP., was and is a Florida

  Profit Corporation, organized under the laws of the State of Florida, with its principal place of

  business in Miami, Florida. Defendant, 1644 HOLDING CORP., holds itself out to the public as

  “Budget Ace Hardware.”

         9.      Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                        FACTUAL ALLEGATIONS

         10.     Although over thirty (30) years have passed since the effective date of Title III of


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  the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         11.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendant continues to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

         12.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         13.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

  from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

  his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires

  the use of a wheelchair to ambulate.

         14.     Defendants, KISS VENTURES, INC. and 1644 HOLDING CORP., own, operate

  and/or oversee the Commercial Property, its general parking lot and parking spots.

         15.     The subject Commercial Property is open to the public and is located in Miami,

  Florida, in Miami-Dade County.

         16.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and

  businesses located within the Commercial Property on or about June 22, 23, 2021 and May 6,

  2022 and encountered multiple violations of the ADA that directly affected his ability to use and

  enjoy the Commercial Property and businesses located therein. He often visits the Commercial


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  Property and businesses located within the Commercial Property in order to avail himself of the

  goods and services offered there, and because it is approximately twenty (20) miles from his

  residence and is near other businesses he frequents as a patron. He plans to return to the

  Commercial Property and the businesses located within the Commercial Property within two (2)

  months of the filing of this Complaint, specifically on or before June 21, 2022.

         17.     Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his residence and other businesses that he

  frequents as a patron and plans to return to the Commercial Property and the businesses located

  within the Commercial Property within two (2) months of the filing of this Complaint, specifically

  on or before June 21, 2022.

         18.     The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         19.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial

  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered his safety in violation

  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of


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  injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly

  situated.

           20.   Defendants, KISS VENTURES, INC. and 1644 HOLDING CORP., own and/or

  operate a place of public accommodation as defined by the ADA and the regulations implementing

  the ADA, 28 CFR 36.201 (a) and 36.104. Defendants, KISS VENTURES, INC. and 1644

  HOLDING CORP., are responsible for complying with the obligations of the ADA. The place of

  public accommodation that Defendants, KISS VENTURES, INC. and 1644 HOLDING CORP.,

  own and/or operate the Commercial Property Business located at 1644 NE 2nd Ave Miami, Florida

  33132.

           21.   Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

  of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Counts I through II of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and businesses located within the Commercial Property, in violation

  of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

  only to avail himself of the goods and services available at the Commercial Property, and

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property and businesses located within the Commercial Property are in compliance with the ADA,

  so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.

           22.   Defendant, KISS VENTURES, INC., as landlord and owner of the Commercial


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  Property Business, is responsible for all ADA violations listed in this complaint. Defendant, 1644

  HOLDING CORP., as tenant and/or owner of the business within the Commercial property, is

  jointly and severally liable for all ADA violations listed in this complaint.

         23.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

  of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in this Complaint. Plaintiff has reasonable grounds to believe

  that he will continue to be subjected to discrimination at the Commercial Property, and businesses

  within the Commercial Property, in violation of the ADA. Plaintiff desires to visit the Commercial

  Property and businesses within the Commercial Property, not only to avail himself of the goods

  and services available at the Commercial Property and businesses located within the Commercial

  Property, but to assure himself that the Commercial Property, and businesses located within the

  Commercial Property are in compliance with the ADA, so that he and others similarly situated

  will have full and equal enjoyment of the Commercial Property, and businesses located within the

  Commercial Property without fear of discrimination.

         24.     Defendant has discriminated against the individual Plaintiff by denying him access

  to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

  accommodations of the Commercial Property, and businesses located within the Commercial

  Property, as prohibited by 42 U.S.C. § 12182 et seq.

                            ADA VIOLATIONS – COMMON AREAS

         25.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  24 above as though fully set forth herein.


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          26.      Defendants, KISS VENTURES, INC. and 1644 HOLDING CORP., have

  discriminated, and continue to discriminate, against Plaintiff in violation of the ADA by failing,

  inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant

  has 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

  Plaintiff encountered during his visit to the Commercial Property, include but are not limited to,

  the following:

       A. Parking

     i.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

          located on an excessive slope. Violation: There are accessible parking spaces located on

          an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010

          ADA Standards, whose resolution is readily achievable.

   ii.    The plaintiff had difficulty exiting the vehicle, as designated accessible parking space

          access aisles are located on an excessive slope. Violation: There are accessible parking

          space access aisles located on an excessive slope violating Section 4.6.3 of the ADAAG

          and Section 502.4 of the 2010 ADA Standards, whose resolution is readily achievable.

   iii.   The plaintiff had difficulty accessing the facility, as there are sections without designated

          accessible parking spaces. Violation: Accessible parking spaces are not dispersed and

          located closest to accessible entrances, violating Section 4.6.2 of the ADAAG and Section

          208.3.1 of the 2010 ADA Standards, whose resolution is readily achievable.

       B. Entrance Access and Path of Travel

     i.   The plaintiff could not enter the store without assistance, as the required level landing is

          not provided. Violation: A level landing that is 60 inches minimum perpendicular to the


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               doorway is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a)

               of the ADAAG and Section 404.2.4 of the 2010 ADA Standards, whose resolution is

               readily achievable.

   ii.         The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

               Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

               4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is

               readily achievable.

   iii.        The plaintiff could not traverse through areas of the store, as the required 36” path is not

               provided. Violation: A continuous path of travel connecting all essential elements of the

               store is not provided, violating Sections 4.2.1, 4.3.2(2), & 4.3.3 of the ADAAG and

               Sections 206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution is readily

               achievable.

         C. Access to Goods and Services

         i.       There are drinking fountains that don’t provide access to those who have difficulty

                  bending or stooping. Violation: There are drinking fountains that are in violation of

                  Section 4.1.3(10) of the ADAAG and Sections 211.2 & 602.7 of the 2010 ADA

                  Standards, whose resolution is readily achievable.

         ii.      The plaintiff could not use the sales counters without assistance, as they are mounted

                  too high. Violation: There are sales counters at the facility in excess of 36” high,

                  violating Section 7.2(1) of the ADAAG and Section 904.4 of the 2010 ADA Standards,

                  whose resolution is readily achievable.




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       D. Public Restrooms

     i.   There are permanently designated interior spaces without proper signage, violating Section

          4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

          whose resolution is readily achievable.

   ii.    The plaintiff could not enter the restroom without assistance, as the required maneuvering

          clearance is not provided. Violation: The restroom door does not provide the required latch

          side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

          ADA Standards, whose resolution is readily achievable.

   iii.   The plaintiff had difficulty using the locking mechanism on the restroom door without

          assistance, as it requires tight grasping. Violation: The restroom door has non-compliant

          hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and

          Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily

          achievable.

   iv.    The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

          required distance from the side wall. Violation: The water closet is mounted at a non-

          compliant distance from the side wall, violating Section 4.16.2 and Figure 28 of the

          ADAAG and Section 604.2 of the 2010 ADA Standards, whose resolution is readily

          achievable.

    v.    The plaintiff could not use the soap bottle without assistance, as it requires a tight grasp to

          operate. Violation: The soap dispensers require a tight grasp to operate in violation of

          Section 4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA Standards, whose

          resolution is readily achievable.


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   vi.    The plaintiff could not use the restroom without assistance, as the required clear floor space

          was not provided due to the dimensions. Violation: Compliant clear floor space is not

          provided in the restroom, violating Sections 4.2.3 and 4.22.3 of the ADAAG and Sections

          304.3 and 603.2 of the 2010 ADA Standards, whose resolution is readily achievable.

   vii.   The plaintiff could not use the toilet paper dispenser without assistance, as it is not mounted

          at the required location. Violation: The toilet paper dispenser is not mounted in accordance

          with Section 4.16.6 and Figure 29 of the ADAAG and Section 604.7 of the 2010 ADA

          Standards, whose resolution is readily achievable.

  viii.   The plaintiff could not transfer to the toilet without assistance, as the rear grab bar is

          missing and the side grab bar is not the required length. Violation: The grab bars do not

          comply with the requirements prescribed in Section 4.16.4 and Figure 29 of the ADAAG

          and Section 604.5 of the 2010 ADA Standards, whose resolution is readily achievable.

   ix.    The plaintiff could not use the lavatory without assistance, as the pipes are not fully

          wrapped and objects are located underneath them. Violation: There are lavatories with

          pipes that are not properly insulated and not properly maintained free of obstructions,

          violating the requirements in Sections 4.19.2, 4.19.4 of the ADAAG, 28 CFR 36.211, and

          Sections 606.2 & 606.5 of the 2010 ADA Standards, whose resolution is readily

          achievable.

    x.    The plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

          provided in the restrooms are in violation of the requirements in Section 4.19.6 of the

          ADAAG and Section 603.3 of the 2010 ADA Standards, whose resolution is readily

          achievable.


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                                 RELIEF SOUGHT AND THE BASIS

           27.      The discriminatory violations described in this Complaint are not an exclusive list

   of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ place of

   public accommodation in order to photograph and measure all of the discriminatory acts violating

   the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

   requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

   presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal

   enjoyment of the Commercial Property and the business therein; Plaintiff requests to be physically

   present at such inspection in conjunction with Rule 34 and timely notice. Plaintiff requests the

   inspection in order to participate in crafting a remediation plan to address Plaintiff’s request for

   injunctive relief.

           28.      The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants’ Commercial Property and the

   business within the Commercial Property; and has otherwise been discriminated against and

   damaged by the Defendant because of the Defendants’ ADA violations as set forth above. The

   individual Plaintiff, and all others similarly situated, will continue to suffer such discrimination,

   injury and damage without the immediate relief provided by the ADA as requested herein. In order

   to remedy the discriminatory situation, the Plaintiff requires an inspection of the Defendants’ place

   of public accommodation in order to determine all of the areas of non-compliance with the

   Americans with Disabilities Act. Plaintiff further requests a remediation plan and the opportunity

   to participate in the crafting of the remediation plan.

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          29.        Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of their places of public accommodation or commercial facility, in violation of

   42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          30.        Plaintiff is without adequate remedy at law, will suffer irreparable harm, and have

   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

   12205 and 28 CFR 36.505.

          31.        A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public similarly

   situated, will continue to suffer such discrimination, injury and damage without the immediate

   relief provided by the ADA as requested herein. In order to remedy the discriminatory situation,

   the Plaintiff require an inspection of the Defendants’ place of public accommodation in order to

   determine all of the areas of non-compliance with the Americans with Disabilities Act.

          32.        Notice to Defendants are not required as a result of the Defendants’ failure to


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   cure the violations by January 26, 1992 (or January 26, 1993, if a Defendant have 10 or fewer

   employees and gross receipts of $500,000 or less). All other conditions precedent have been met

   by Plaintiff or waived by the Defendants.

          33.        Pursuant to 42 U.S.C. § 12188, the Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate its

   business, located within the Commercial Property located in Miami-Dade County, the interiors,

   exterior areas, and the common exterior areas of the Commercial Property and hotel business to

   make those facilities readily accessible and useable to the Plaintiff and all other mobility-impaired

   persons; or by closing the facility until such time as the Defendants cure its violations of the ADA.

          WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that the Honorable

   Court issue (i) a Declaratory Judgment determining Defendants, at the commencement of the

   subject lawsuit, was and is in violation of Title III of the Americans with Disabilities Act, 42

   U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants, including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §




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   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: May 9, 2022                            GARCIA-MENOCAL & PEREZ, P.L.
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                                                 By: ___/s/_Anthony J. Perez________
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